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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION

CHRISTINE COLLIER, et al,
                                                    Cause No. CV-15-83-SPW-TJC

                    Plaintiffs,
       v.                                          PLAINTIFFS’ RESPONSE TO
                                                   DEFENDANTS' MOTION FOR
TIM FOX, et al,                                      SUMMARY JUDGMENT


                    Defendants.


                                  I.   INTRODUCTION

      In this case, Plaintiffs seek judicial protection of their well-established,

Constitutionally-protected fundamental rights, including the right to marriage, to

liberty, to life, to privacy, to property, to parent their children, and to freedom of

expression. Montana's civil and criminal anti-polygamy laws unConstitutionally

infringe those fundamental rights, and further violate the First and Fourteenth


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Amendments in myriad ways. Due to Plaintiffs' past and ongoing violation of,

Defendants' enforcement and threatened enforcement of, and Plaintiffs' objective

and reasonable fear of future enforcement of Montana's criminal anti-polygamy

laws, Plaintiffs have standing to challenge those laws. Montana's anti-polygamy

laws are entirely unConstitutional and unsalvageable by judicial construction.

Although Montana's anti-polygamy laws must be subjected to strict scrutiny

analysis, they are unjustifiable by any form of Constitutional analysis.

                                II.   ARGUMENT

A.    Plaintiffs Have Standing to Challenge unConstitutional Criminal Anti-
Polygamy Laws

      A person commits the criminal offense of polygamy1 in Montana if, while

married, the person knowingly (a) "contracts" or (b) "purports to contract" another

marriage. MCA § 45-5-611. A person commits the offense of marrying a

polygamist in Montana if that person (a) "contracts" or (b) "purports to contract" a


      1
        For purposes of this lawsuit, polygamy and bigamy are interchangeable.
Deputy Yellowstone County Attorney Kevin Gillen's Letter to Christine and
Nathan Collier, Dkt. 22-1 ("polygamy and bigamy are used interchangeably
throughout Montana law"; "the law of the State of Montana is that bigamy and
polygamy are illegal"); Defendants' Memo in Support of MSJ, at 18 (asserting that
the assessment of "polygamy” in Reynolds v. U.S., 98 U.S. 145 (1879) controls
interpretation of Montana's criminal anti-bigamy laws); C. Collier Dep., at 18:12-
14 ("there is no distinguishing between bigamy and polygamy under current
Montana state statute"). Linguistically, based on the word roots, polygamy means
multiple simultaneous marriages, whereas bigamy means two simultaneous
marriages.

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marriage with another knowing that the other is committing polygamy. MCA § 45-

5-612.

      Defendants contend that, pursuant to Montana's criminal anti-polygamy

statutes, parties to a private marriage contract who publicly proclaim that they are

married have nonetheless neither contracted nor purported to have contracted a

marriage, unless they have also officially entered the marriage by obtaining

multiple marriage licenses. Deputy Yellowstone County Attorney Kevin Gillen's

Letter to Christine and Nathan Collier, Dkt. 22-1, at 1 ("as long as you are legally

married . . . [you] can [not] knowingly enter into a marriage to a third party");

Defendants' Memo in Support of MSJ, at 12 ("bigamy laws involve multiple

marriage licenses"), 13 ("'[P]urports' means that the parties secure a second

although void marriage license and treat it and the second marriage as valid."). In

Defendants' view, since Plaintiffs do not have multiple marriage licenses, they are

not violating Montana's criminal anti-polygamy laws, and cannot reasonably fear

future enforcement.

      Montana court construction controls construction of Montana's anti-

polygamy laws. "It is axiomatic that state courts are the final arbiters of state law."

U.S. v. DeGasso, 369 F.3d 1139, 1145 (10th Cir. 2004), citing Mullaney v. Wilbur,

421 U.S. 684 (1975).

      Generously interpreted, Defendants contend Montana's courts would

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narrowly construe Montana's criminal anti-polygamy statutes as only penalizing

persons who have entered, or purported to enter, a marriage by improperly

obtaining, or purporting to have properly obtained, governmental/legal recognition

of their marital status, despite knowing that one or both of the parties is currently

married. For the reasons outlined below, there is no reason to believe Montana's

courts would narrowly construe Montana's criminal anti-polygamy laws in that

manner. Such narrowing construction would not, in any case, remedy the

Constitutional infirmity.

      There are no Montana cases interpreting the criminal anti-polygamy laws.

That said, Montana's civil marriage laws, the legislative commentary, the

contextual history, other courts' analysis, the plain meaning of the statutory text,

and rational logic all point to the same conclusion: Montana's criminal anti-

polygamy statutes penalize contracting, or purporting to contract, a private marital

relationship of the sort that would be valid pursuant to Montana's common law,

but-for the fact that one or both parties to the marriage contract are married.

Although the parties to such a void private contract of polygamous marriage may

improperly obtain legal marital status, or purport to have such legal marital status,

that evidence is likely sufficient, but is not necessary, to violate Montana criminal

anti-polygamy laws.

      First and foremost, unlike in Utah, Montana civil marriage laws recognize

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the existence of common law marriage prior to, separate from, and in the absence

of any formal government recognition of legal marital status. In Montana, persons

can contract a valid common law marriage by mutual consent if: "(1) the parties

were competent to enter into a marriage; (2) the parties assumed a marital

relationship by mutual consent and agreement; and (3) the parties confirmed their

marriage by cohabitation and public repute." In Re Estate of Ober, 62 P.3d 1114,

¶9 (Mont. 2003), citing MCA § 40-1-403. Montana thus recognizes the existence

of a marriage contract, whether monogamous or polygamous in nature, even if the

parties to the marriage have not obtained a marriage license or other government-

recognized, formally-established legal marital status. Id. In addition, in Montana,

when parties purport to be married "by cohabitation and public repute," that

constitutes evidence that the parties have, in fact, contracted a marriage. Id.

      Montana's civil marriage laws also recognize a distinction between entering

a polygamous marriage, for example by way of improperly obtaining a marriage

license, MCA § 40-1-401(1)(a) ("a marriage entered into prior to the dissolution of

an earlier marriage of one of the parties" is "prohibited"), and contracting a private

marital agreement intended to achieve the benefits and obligations of entering into

a polygamous marriage, MCA § 40-1-401(4) ("A contractual relationship entered

into for the purpose of achieving a civil relationship that is prohibited under

subsection (1) is void as against public policy").

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      Second, the legislative commentary accompanying the statutory language of

Montana criminal anti-polygamy laws also indicates that such laws penalize

marriages which, but-for civil and criminal anti-polygamy laws, would otherwise

be valid common law marriages. In 1895, for purposes of the criminal anti-

polygamy laws, a "marriage" could be disproven by evidence that the

solemnization ceremony was not performed by a bona fide minister or clergyman.

Complete Codes and Stat. of Mont., vol. II, ch. IV. § 490 (July 1, 1895), citing

Hayes v. People, 25 N.Y. 390 (1862), and associated legislative commentary. In

1908, for purposes of the criminal anti-polygamy laws, evidence that a person was

generally reputed to be married was admissible as tending to show actual marriage.

Rev. Codes of Mont. of 1907, vol. IV, ch. IV. §§ 8353-8356, at 591-591

(Compiled by E.C. Day, Comm., 1908), citing People v. Beevers, 99 Cal. 288 [sic],

33 Pac. S44 (1893), and associated legislative commentary.

      Third, Montana legislators drafted criminal anti-polygamy laws intending to

cast a broad net, criminalizing the indicia of a polygamous marriage to the extent

possible, because the private conduct pertaining to such marriages could be

difficult to prove. Montana enacted criminal anti-polygamy laws because of, and in

the context of, a nation-wide anti-Mormon and anti-Mormon polygamy sentiment,

motivated by improper religious and racial animus. Plaintiffs' Statement of

Undisputed Facts, Dkt. 76, at ¶¶17-93 (circumstantial evidence that Montana

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legislators enacted anti-polygamy laws in the context of, and because of, nation-

wide religious and racial animus towards polygamy); Plaintiffs' Statement of

Disputed Facts, at 5-8 (direct evidence that Montana legislators shared, and were

influenced by, nation-wide religious and racial animus towards polygamy).

      Polygamy was not criminalized because it was violent, abusive, or

fraudulent, but because it was viewed as being immoral pursuant to Christian

religious doctrine, and as being uncivilized, which was code for non-white. Id.

Prejudice is not valid precedent, and cases based on improper religious and/or

racial animus are no longer good law. See, e.g., Romer v. Evans, 517 U.S. 620, 634

(1996) ("To the extent Davis [v. Beason, 133 U.S. 333 (1890)] held that persons

advocating a certain practice may be denied the right to vote, it is no longer good

law."; "To the extent it held that the groups designated in the statute [i.e., Mormons

and polygamists] may be deprived of the [fundamental] right to vote because of

their status, its ruling could not stand without surviving strict scrutiny, a most

doubtful outcome.") (emphasis added).

      Laws criminalizing polygamy were, and are, intimately tied to other, now-

overruled, antiquated laws criminalizing similarly private, consensual adult sexual

conduct, such as unmarried cohabitation, fornication, and sodomy. Supra, at 6-7;

Brown v. Buhman, 947 F.Supp.2d 1170, 1181-82 (2013) (acknowledging the

changed landscape of Constitutional law relating to personal choices), vacated by

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Brown v. Buhman, 822 F.3d 1151 (10th Cir. 2016).

      At the time Montana enacted criminal anti-polygamy laws, legislators were

scrambling to rewrite polygamy statutes to ensure that parties to private

polygamous marriage contracts could not escape criminal penalties. Id.; Cannon v.

United States, 116 U.S. 55, 75) (cohabitation included in polygamy statute as an

indicia of marriage because direct evidence of marriage was difficult to obtain);

Murphy v. Ramsey, 114 U.S. 15, 41 (1885) (construing polygamous marriage as

the "status" of having "more than one woman whom he recognizes as a wife,—of

whose children he is the acknowledged father, and whom, with their children, he

maintains as a family," even in the absence of licensure or cohabitation). Montana's

criminal anti-polygamy laws reflect that legislative motivation and purpose.

      Fourth, other courts' analysis of anti-polygamy provisions indicate violations

can occur without actual or purported governmental recognition of marital status.

Id.; State v. Holm, 137 P.3d 726, 733-36 (2006) (violation of a "purport to marry"

prong of criminal anti-polygamy law can occur without a marriage license or other

purportedly valid, legal marital status).

      Fifth, the plain meaning of the text indicates that persons need only privately

"contract," or "purport to contract," a polygamous marriage in order to violate

Montana criminal anti-polygamy laws. To "purport" means "[t]o profess or claim,

esp. falsely; to seem to be[.]" Black's Law Dictionary 1431 (10th ed. 2014). A

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"marriage contract", "[a]lso termed contract of marriage", is "[a] form of mutual

consent required for a matrimonial relationship to exist according to the law of the

place where the consent takes place." Black's Law Dictionary 395 (10th ed. 2014).

A "plural marriage" is "[a] marriage in which one spouse is already married to

someone else; a bigamous or polygamous union[.]" Id., at 1119. The dictionary

defines "marry" as "to join in marriage according to law or custom," or "to unite in

close and permanent relation." Merriam-Webster's Collegiate Dictionary 761 (11th

ed. 2003) (emphasis added). Parties may thus mutually contract a private

polygamous marriage, or claim to contract such a marriage, even though it may be

void and criminal in nature, and without any government-recognized, legal marital

status. There is no indication in the criminal anti-polygamy statutory language that

parties who contract a private polygamous marriage, or who purport to so contract,

must improperly obtain some form of government-recognized legal status, or

purport to have obtained such status, in order to violate those laws.

      Sixth, it makes no logical, rational sense to permit private polygamous

marriage contracts, criminalizing such conduct only when it occurs in conjunction

with a marriage license or some other form of government-recognized marital

status. That interpretation is by nature somewhat circular, requiring government

recognition of a marriage which, by definition, cannot validly obtain such

recognition. In practice, people purport to be married, and rarely, if ever, purport to

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have a marriage license or legal recognition of the marriage. Defendants and

Defendants' proposed expert witness assert that various harms are associated with

the "practice" of polygamy, providing a rational secular basis for criminalizing

polygamy. Yet, the harms purportedly associated with polygamous practices would

not be deterred by Defendants' interpretation of Montana's criminal anti-polygamy

laws.

        Plaintiffs Christine and Nathan Collier repeatedly admit they violate

Montana's criminal anti-polygamy laws, despite fear of criminal repercussions.

Plaintiffs Christine and Nathan Collier have asserted that they are competent adults

of sound mind capable of consent. They contend they have privately contracted a

polygamous marriage by mutual consent and agreement, and they purport to

having contracted such a marriage. Plaintiffs Christine and Nathan Collier

solemnized their marriage not once, but twice, the second time with a renewal of

vows that was specifically polygamous in nature, as first wife Plaintiff Vicki

Collier was included in the ceremony. They cohabit. They publicly purport to be

married, without any disclaimer relating to lack of legal status, and, in some cases,

where legal status would reasonably be presumed (although without any element of

fraud or other harm). They are married by public repute.

        Plaintiffs Christine and Nathan Collier admit to contracting, and to

purporting to contract, a polygamous marriage. There is ample evidence that they

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formed a polygamous marriage contract, even though it is legally void and

unenforceable pursuant to civil law, subject to criminal penalties pursuant to

criminal law, and subject to myriad forms of unequal legal treatment and

deprivation of civil rights and liberties pursuant to both civil and criminal anti-

polygamy laws. When private persons enter a contractual agreement of a criminal

nature, such contracts, despite being void, are nonetheless punishable pursuant to

criminal laws. For example, a criminal "conspiracy" entails a void contract to

engage in criminal conduct. Black's Law Dictionary 375 (10th ed. 2014).

      In conclusion, Plaintiffs have standing to challenge Montana's

unConstitutional criminal anti-polygamy laws, due to Plaintiffs' past and ongoing

violation of, Defendants' enforcement and threatened enforcement of, and

Plaintiffs' objective and reasonable fear of future enforcement of those laws.

B.    Montana's Criminal Anti-Polygamy Statutes are Not Readily Susceptible to
a Narrowing Construction

      As described herein, even assuming arguendo that Defendants' narrowing

construction of Montana's criminal anti-polygamy laws is correct, adopting that

construction would be improper and unConstitutional.

      Montana's criminal anti-polygamy statutes currently target harmless and

Constitutionally-protected conduct, without also targeting any particular type(s) of

harm. To improperly obtain legal marital status, or to purport that a void marriage


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is legally valid, are, in and of themselves, harmless. Unless there is some additional

element of fraud, defamation, or perjury, even lies are Constitutionally protected

and the government must pass a strict scrutiny standard. Black's Law Dictionary

775 (10th ed. 2014)(the definition of "fraud" requires both a "misrepresentation"

and that the misrepresentation is made "to induce another to act"); U.S. v. Alvarez,

132 S.Ct. 2537 (2012) (in the absence of defamation, perjury, or fraud, the

government must meet strict scrutiny standards in order to criminalize certain false

statements). Montana's criminal anti-polygamy statutes do not in any discernable

way target violence, lack of consent, fraud, defamation, perjury, and/or any other

type(s) of harm. As there is no discernable indication of which, if any, such

harm(s) the statutes may be narrowly construed to target, the statutes are thus not

readily susceptible to any narrowing construction. It is the role of Montana's

legislature, not the federal judiciary, to determine which particular type(s) of harm

purportedly associated with polygamy to criminalize.

      In addition, because the civil anti-polygamy laws rendering polygamous

marriages void are unConstitutional, so are any criminal laws defined by the

impropriety of having, or claiming to have, legal marital status.

C.    Montana's Civil and Criminal Anti-Polygamy Laws Violate Well-
Established Fundamental Rights

      The Constitutionally-protected fundamental right to marry reflects the


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fundamental right of competent, consenting adults to choose one another as life

partners and to become a loving family, with all of the private, home-centered,

spiritual/religious, and highly Constitutionally-protected conduct such words often

entail, also pursuant to individual choice: to have a spiritual/religious

solemnization ceremony; to cohabitate; to intermingle finances; to raise children

together; to take care of one another for better or worse and in sickness and health;

to engage in a voluntary sexual relationship; and/or to describe one another using

familial and/or marital terms; and/or to exchange contractual promises of a

profoundly spiritual/religious nature, in relation to some or all of the

aforementioned conduct. None of the above is rightfully within the purview of any

governmental legislature, given that the requirement of competency and consent

eliminates the possibility of violence or fraud; in the alternative, any legislative

infringement of such marital conduct must pass a strict scrutiny analysis.

      When competent, consenting interracial adults contested the

Constitutionality of laws prohibiting interracial marriage, local governments

similarly tried to portray those persons as seeking a new, fundamental right to

interracial marriage. Naim v. Naim, 197 Va. 80, 83-85 (1955), remanded 350 U.S.

891, affd. 197 Va. 734, app. dism. 350 U.S. 985, (holding that anti-miscegenation

statutes were Constitutional, and citing various cases motivated by blatant,

improper religious and racial bias such as Reynolds, 98 U.S. 145, Pace v. Alabama,

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106 U.S. 583 (1883), which upheld the criminalization of interracial adultery or

fornication, Plessy v. Ferguson, 163 U.S. 537 (1896), and State v. Gibson, 36 Ind.

389 (1871), upholding anti-miscegenation statutes because of the nature of

marriage as "a public institution established by God . . . in all Christian and

civilized nations"; the Naim Court pointed out that more than one-half of the states

then had anti-miscegenation statutes and that, in spite of numerous attacks in state

and federal courts, and no court save one had held such statutes unconstitutional),

overruled by Loving v. Virginia, 388 U.S. 1, 7-8 (1967) (wherein the State argued

that anti-miscegenation statutes applied equally to "whites and Negroes" because

"members of each race" were "punished to the same degree").

      The Supreme Court properly held, however, that competent, consenting,

interracial adults simply sought judicial protection from laws that, by declaring

interracial marriage contracts void, unConstitutionally deprived them of the

fundamental right to marriage. Loving, 388 U.S., at 9 (mere equal application

inadequate to justify the racial discrimination), 11-12 (the racial classification

violated the Equal Protection Clause), 12 (the deprivation of the right to marry

violated the Due Process Clause).

      Similarly, when competent, consenting same-sex adults contested the

Constitutionality of laws prohibiting same-sex marriage, local governments again

tried to portray those persons as seeking a new, fundamental right to same-sex

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marriage. Baker v. Nelson, 291 Minn. 310, 312, 315 (1971) (upholding laws

prohibiting same-sex marriage because there was no fundamental "right to marry

without regard to the sex of the parties"), app. dism. 409 U.S. 810 (1972) (no

substantial federal question). Instead, the Supreme Court properly held that

competent, consenting, same-sex adults simply sought judicial protection from

laws that, by declaring same-sex marriage contracts void, unConstitutionally

deprived them of the fundamental right to marriage. Obergefell v. Hodges, 135

S.Ct. (2015).

      Meanwhile, various court decisions, including decisions by the Supreme

Court, cast considerable doubt on the continuing vitality of any and all precedent

upholding laws that criminalize polygamous marriage or deny the fundamental

right to marry to polygamists. Supra; Doe v. Duling, 782 F.2d 1201 (4th Cir. 1986

(laws that criminalize noncommercial, private sexual relationships between

consenting adults, such as fornication and cohabitation laws, are either no longer

enforced or have been held unConstitutional); Lawrence v. Texas, 539 U.S. 558

(2003) (holding that laws criminalizing noncommercial, private sexual

relationships between consenting adults, such as criminal anti-sodomy laws, are

unConstitutional); Romer, 517 U.S., at 634 (see excerpted language, supra, at 7).

See also Plaintiffs' Brief in Support of MSJ.

      The above-described pattern, which closely parallels the arguments made by

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the parties in this case, makes clear that the fundamental right to marriage attaches

to all competent, consenting adults, including polygamists. Even prisoners, if

competent and consenting, may not be denied the fundamental right to marriage.

Turner v. Safley, 482 U.S. 78 (1987). So long as interracial, same-sex, or

polygamous adults are, in fact, mentally competent, and do, in fact, voluntarily

consent, their fundamental right to marry therefore may not be infringed, or, in the

alternative, may not be infringed unless subjected to a strict scrutiny analysis.

Legislatures that deprive any category of otherwise-competent, consenting adults

of the Constitutionally protected fundamental right to contract marriage should not

expect to easily excuse away such deprivation.

      Defendants employ the same, failed tactics used by local governments to

defend laws prohibiting interracial and same-sex marriages. Defendants

erroneously claim, for example, that "[a]ll citizens are subject to the same

definition of marriage[.]" Defendants' Memo in Support of MSJ, Dkt. 68, at 25. In

addition, Defendants erroneously claim that Plaintiffs seek a novel, fundamental

right to multiple marriage licenses. Id., at 20-22, 24-25. These tactics blatantly

ignore the fact that competent, consenting polygamous adults are denied the

fundamental right to marry (and subjected to criminal penalties) pursuant to laws

that categorically render only polygamous marriages void (and criminal), just as

interracial and same-sex adults were denied the fundamental right to marry

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pursuant to laws that categorically prohibited interracial and same-sex marriages,

respectively, in the cases above. Defendants' arguments are particularly

unconvincing given that their portrayal of Plaintiff Christine Collier's legal

interests is clearly inaccurate – she seeks one, not multiple, marriage licenses. As

these arguments failed in relation to interracial and same-sex marriage

prohibitions, so must they also fail in relation to polygamous marriage

prohibitions.

      Montana's anti-polygamy laws are particularly unjustifiable (and violate the

Equal Protection Clause) when the treatment of peaceful, competent, consenting

polygamists is compared to other, similarly-situated populations. Void marriage

contracts involving underage minors (who lack both competency and consent due

to such minority) are not criminalized, despite the near-certain probability such

marriages entail statutory, and criminal, child rape. Adults with a proven history of

violence, i.e., prisoners, nonetheless have a fundamental right to marriage. Yet

marriage contracts between consenting and competent polygamous adults are

criminalized, and such adults are denied the fundamental right to marry. In light of

such irrational discrepancies discriminating between polygamists and other,

similarly-situated groups (including those previously and elsewhere described),

Defendants cannot justify civil or criminal anti-polygamy laws.

      Beyond depriving Plaintiffs of their fundamental right to marriage,

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Montana's civil and criminal anti-polygamy laws additionally infringe Plaintiffs'

fundamental rights to liberty, to life, to privacy, to property, to parent their

children, and to freedom of expression. Woods v. Nierstheimer, 328 U.S. 211, 216

(1946) (recognizing existence of fundamental rights to life and to liberty);

Maracich v. Spears, 133 S. Ct. 2191 (2013) (to privacy); Matthews v.Eldridge, 424

U.S. 319, 332 (1976) (to life and to property); Troxel v. Granville, 530 U.S. 57, 67

(2000) (to parent); Nunez by Nunez v. City of San Diego, 114 F.3d 935, 950 (9th

Cir. 1997) (to freedom of expression).

D.  Montana's Civil and Criminal Anti-Polygamy Laws Violate the First
Amendment of the United States Constitution

      As discussed at length elsewhere, Montana's civil and criminal anti-

polygamy laws violate various clauses of the First Amendment, including the Free

Exercise, Establishment, and Free Speech Clauses. Plaintiffs' Brief in Support of

MSJ, Dkt. 75-1.

      Defendants erroneously contend that such laws are rationally based, facially

and operationally neutral, and general applicable. Defendants' Memo in Support of

MSJ, Dkt. 68, at 25-27, 30. The laws classify and discriminate against polygamous

persons, and do not merely incidentally burden the religious practice of polygamy,

given that legislators were motivated by improper religious and racial animus.

Infra. Any secular policies against the harms allegedly associated with polygamy,


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if such policies exist, are not discernable from laws that universally prohibit

polygamy due to improper religious and racial bias, without any mention or

indication of such policies. Defendants cannot now invent secular policies from

thin air, without any support in the statutory language, and in contradiction of

known nonsecular and improper legislative intent.

      In relation to Montana's criminal anti-polygamy laws, it is worth noting that

the vast majority of case law cited by Defendants relate to civil, rather than

criminal, laws; more robust Constitutional protections should, an often do, apply

when citizens are threatened with imprisonment and fines rather than mere civil

penalties. The "purports" clause of these criminal laws criminalize

Constitutionally-protected expression, infra, not merely unprotected fraud, as

Defendants claim. Further, the "purports" clauses do not criminalize that protected

expression on a content-neutral basis, i.e., whenever any party to a void marriage

"purports to contract" marriage; instead, such protected expression is criminalized

only when it is expressed by polygamous persons and relates to marriages that are

void due to their polygamous nature. Laws of that nature must pass strict scrutiny

analysis. R.A.V. v. City of St. Paul, Minn., 505 U.S. 377, 381, 386 (1992) (non-

content-neutral prohibition of fighting words facially unConstitutional;

"government may not regulate use [of otherwise unprotected speech] based on

hostility—or favoritism—towards the underlying message").

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                               III.   CONCLUSION

      There is no genuine dispute as to any material fact. Montana's civil and

criminal anti-polygamy laws are entirely unConstitutional and unsalvageable by

judicial construction, and Plaintiffs have standing to challenge the validity of those

laws. Plaintiffs therefore respectfully request the Court grant Plaintiffs' Motion for

Summary Judgment, Dkt. 75.

      Dated this 22nd day of June, 2017.

                                              Respectfully submitted,

                                              WARREN & SWANSON, PLLC

                                              By: /s/ Elinor Swanson
                                              Attorney for Plaintiffs

                        CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 7.1(d)(2) of the Local Rules of Procedure for the United

States District Court, for the District of Montana, the undersigned certifies that the

word count is 3999, excluding the caption and certificates of service and

compliance.

      Dated this 22nd day of June, 2017.


                                              WARREN & SWANSON, PLLC

                                              By: /s/ Elinor Swanson
                                              Attorney for Plaintiffs


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                          CERTIFICATE OF SERVICE

      Plaintiffs hereby certify that on this 22nd day of June, 2017, a copy of the

foregoing was served upon the clerk of the court for the United States District

Court for the District of Montana and all counsel of record by the CM/ECF system,

and in addition upon the following counsel of record by electronic mail, as per

mutual party written agreement:

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